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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,                             CIVIL ACTION FILE

                                             NO. 1:18-CV-5391-SCJ
v.

BRAD RAFFENSPERGER, et al.,

     Defendants.


                                     ORDER

        The Court enters the following order on its own motion in anticipation of

Defendants’ forthcoming privilege log and for purposes of determining proper

custodians for discovery records searches.

        The Restatement (Third) of the Law Governing Lawyers § 73 cmt. b (Am.

Law Inst. 2000) provides in relevant part that in extending attorney-client

privilege to organizations, “[t]he first [pivotal question] is defining the group of

persons who can make privileged communications on behalf of an organization.”

        To this regard, the Court ORDERS Defendants to define the group of

persons (i.e., current and former employees since 2016) who are authorized to
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make privileged communications on behalf of the Elections Division of the

Georgia Secretary of State’s Office. Defendants shall respond to this Order via a

notice of filing on CM/ECF by FRIDAY, FEBRUARY 14, 2020.

      IT IS SO ORDERED this 10th day of February, 2020.



                                     s/Steve C. Jones______________________
                                     HONORABLE STEVE C. JONES
                                     UNITED STATES DISTRICT JUDGE




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